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                                                                       United States Bankruptcy Court
                                                                           Southern District of Texas

                                                                              ENTERED
                  IN THE UNITED STATES BANKRUPTCY COURT                   November 08, 2024
                    FOR THE SOUTHERN DISTRICT OF TEXAS                     Nathan Ochsner, Clerk
                             HOUSTON DIVISION

IN RE:                          §
                                §                CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                            §                CHAPTER 7
                                §
       Debtor.                  §
                                §
JOHN QUINLAN                    §
and                             §
OMAR KHAWAJA                    §
and                             §
OSAMA ABDULLATIF,               §
                                §
       Plaintiffs,              §
                                §
VS.                             §                ADVERSARY NO. 23-3141
                                §
JETALL COMPANIES, INC.          §
and                             §
ARABELLA PH 3201 LLC            §
and                             §
9201 MEMORIAL DR. LLC           §
and                             §
2727 KIRBY 26L LLC              §
and                             §
DALIO HOLDINGS I, LLC           §
and                             §
DALIO HOLDINGS II, LLC          §
and                             §
HOUSTON REAL ESTATE PROPERTIES, §
LLC                             §
and                             §
SHAHNAZ CHOUDHRI                §
and                             §
ALI CHOUDHRI                    §
and                             §
SHEPHERD-HULDY DEVELOPMENT I, §
LLC                             §
and                             §
SHEPHERD-HULDY DEVELOPMENT II, §
LLC                             §
and                             §
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GALLERIA LOOP NOTE HOLDER LLC                      §
and                                                §
A. KELLY WILLIAMS                                  §
and                                                §
MOUNTAIN BUSINESS CENTER, LLC                      §
and                                                §
RANDY W WILLIAMS CH7 TRUSTEE                       §
and                                                §
OTISCO RDX LLC                                     §
and                                                §
MCITBE, LLC                                        §
and                                                §
JETALL/CROIX PROPERTIES LP                         §
and                                                §
JETALL/CROIX GP, LLC,                              §
                                                   §
         Defendants.                               §

       ORDER DENYING MOTION (ECF NO. 294) AND SHOW CAUSE ORDER


Before the Court is the third attempt by SHAHNAZ CHOUDHRI to continue her deposition. As

the Court has previously denied her second attempt to continue with prejudice (ECF No. 293),

the Court is troubled that a third attempt seeking a continuance would be filed by her attorney.

While the Court is aware that the Motion is now styled as a Motion to Cancel the Deposition it is

just another attempt to continue the same. Accordingly, James Pope is ORDERED to personally

appear at 9:00 a.m. on November 14, 2024, and show cause why he should not be sanction for

filing this motion in violation of the Court’s prior order.

SO ORDERED.

         SIGNED 11/08/2024


                                                       ___________________________________
                                                       Jeffrey Norman
                                                       United States Bankruptcy Judge




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